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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
ELIJAH E. CUMMINGS, et al.,               )
                                          )
      Plaintiffs,                         )
                                          )
              v.                          )               Case No. 17-cv-02308 (APM)
                                          )
EMILY W. MURPY, Administrator,            )
General Services Administration,          )
                                          )
      Defendant.                          )
_________________________________________ )

                                MEMORANDUM OPINION

I.     INTRODUCTION

       This case concerns an agency’s refusal to produce records in response to what is referred

to in political parlance as a “Seven Member Rule” request. That moniker derives from the “Seven

Member Rule,” which is embodied in 5 U.S.C. § 2954. Adopted by Congress in 1928, section

2954 provides in pertinent part that, upon request of the Committee on Oversight and Government

Reform of the U.S. House of Representatives (“the House Oversight Committee”), “or of any seven

members thereof,” an Executive agency “shall submit any information requested of it relating to

any matter within the jurisdiction of the committee.” 5 U.S.C. § 2954 (emphasis added). The

Seven Member Rule thus provides a statutory mechanism for members of the minority party to

obtain records from the Executive Branch to support the Committee’s oversight function.

       Plaintiffs here are seventeen minority members of the House Oversight Committee who

have made several Seven Member Rule requests of the General Services Administration (“GSA”)

for information relating to GSA’s management of its lease agreement with Trump Old Post Office
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LLC. 1 That lease agreement granted Trump Old Post Office LLC—an entity owned by President

Donald J. Trump, his daughter Ivanka Trump, and his sons, Donald, Jr., and Eric Trump—the

rights to develop and convert the Old Post Office building in Washington, D.C., into the Trump

International Hotel. In early January 2017, GSA produced records that were responsive to

Plaintiffs’ initial requests. Since President Trump’s inauguration, however, GSA has disclosed no

additional information about the Old Post Office lease agreement in direct response to Plaintiffs’

subsequent Seven Member Rule requests.                  Plaintiffs brought this action against GSA’s

Administrator to compel compliance with their Seven Member Rule requests.

        Before the court is Defendant’s Motion to Dismiss and Plaintiffs’ Cross-Motion for

Summary Judgment. For the reasons stated below, the court concludes that these Plaintiffs, as

individual members of the House Oversight Committee, lack standing to bring this action. Thus,

the court grants Defendant’s Motion to Dismiss under Federal Rule of Civil Procedure 12(b)(1)

and denies Plaintiffs’ Cross-Motion for Summary Judgment.

II.     BACKGROUND

        A.       Statutory Background

        Congress enacted the Seven Member Rule in 1928 as part of an Act containing only three

sections, the first two of which are pertinent here. See Act of May 29, 1928, ch. 901, 45 Stat. 986.

Section 1 of the Act repealed 128 mandatory reporting statutes that obligated federal agencies to

submit periodic reports to Congress. See id. § 1, 45 Stat. at 986–96. Congress repealed these

requirements, because it deemed the reports to no longer “serve [a] useful purpose,” as the reports

proved to be labor intensive but ultimately “useless” in their utility. See H.R. Rep. No. 70-1757,


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 Plaintiffs are Ranking Member Elijah E. Cummings and Members Carolyn Maloney, Eleanor Holmes Norton,
William Lacy Clay, Stephen Lynch, Jim Cooper, Gerald Connolly, Robin Kelly, Brenda Lawrence, Bonnie Watson
Coleman, Stacey Plaskett, Val Demings, Raja Krishnamoorthi, Jamie Raskin, Peter Welch, Matt Cartwright, and Mark
DeSaulnier. See generally Compl., ECF No. 1.

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at 3, 6 (1928); see also id. at 6 (“The departmental labor in preparation is a waste of time and the

files of Congress are cluttered up with a mass of useless reports.”). Section 2 of the Act replaced

this mandatory, reports-based model of disclosure with a request-driven process. See Act of May

29, 1928, ch. 901, § 2, 45 Stat. 986, 996. Section 2 is now codified at 5 U.S.C. § 2954, which

provides in relevant part: “An Executive agency, on request of the Committee on Government

Operations of the House of Representatives [today, the House Committee on Oversight and

Government Reform], or of any seven members thereof . . . shall submit any information requested

of it relating to any matter within the jurisdiction of the committee.” 5 U.S.C. § 2954. 2 Thus,

instead of requiring mandatory reporting by Executive agencies, section 2 provided a mechanism

by which the House Oversight Committee and its members could obtain information by making a

specific demand for information.

        Section 2954 plainly gives members of the House Oversight Committee the right to request

information from Executive agencies, so long as the information sought falls within the

Committee’s jurisdiction and at least seven members join in the request. That much is clear.

Section 2954’s legislative history, however, reveals some ambiguity as to the statute’s reach. See

generally Louis Fisher, Congressional Access to Information: Using Legislative Will and

Leverage, 52 Duke L.J. 323, 362–64 (2002). Part of the legislative history suggests that Congress

intended to limit the scope of a request made under section 2954 to information contained in the

abolished regular reports that Executive agencies previously had sent to Congress. See H.R. Rep.

No. 70-1757, at 6 (“To save any question as to the right of the House of Representatives to have



2
  A 1995 statute requires that references to the House Committee on Government Operations in earlier laws “be treated
as referring to the [House] Committee on Government Reform and Oversight,” References in Laws to Committees
and Officers of the House of Representatives, Pub. L. No. 104-14, § 1(a)(6), 109 Stat. 186 (1995), the name of which
was changed in 2007 to the Committee on Oversight and Government Reform by House resolution, see Pls.’ Cross-
Mot. for Summ. J. & Opp’n to Def.’s Mot. to Dismiss, ECF No. 11, Pls.’ Mem. in Supp., ECF No. 11-1, at 1 n.1; cf.
Def.’s Mot. to Dismiss, ECF No. 8, Def.’s Mem. of P. & A., at 1 n.1.

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furnished any of the information contained in the reports proposed to be abolished, a provision has

been added to the bill requiring such information. . . .”). But other portions of the legislative

history suggest no such limitation. For instance, both the House and Senate Reports provide that,

“[i]f any information is desired by any Member or committee upon a particular subject that

information can be better secured by a request made by an individual Member or committee, so

framed as to bring out the special information desired.” Id. (emphasis added); S. Rep. No. 70-

1320, at 4 (1928) (emphasis added). Thus, hidden behind the seemingly straightforward and broad

statutory language of section 2954 is legislative history that leaves some uncertainty as to the

precise scope of demandable information. See Fisher, supra, at 363.

       B.      Factual Background

       Now, spring forward 85 years. On August 5, 2013, GSA entered into a lease agreement

with Trump Old Post Office LLC, a company owned by now President Donald J. Trump, his

daughter Ivanka Trump, and his sons, Donald, Jr., and Eric Trump. Compl., ECF No. 1, ¶ 10. The

lease agreement permitted the company to develop and convert the Old Post Office on

Pennsylvania Avenue in Northwest Washington, D.C., into the Trump International Hotel. See id.

As relevant here, Article 37.19 of the lease agreement provides:

               No member or delegate to Congress, or elected official of the
               Government of the United States or the Government of the District
               of Columbia, shall be admitted to any share or part of this Lease, or
               to any benefit that may arise therefrom.

Id. ¶ 11. It is probably safe to say that when GSA and Trump Old Post Office LLC entered into

the lease agreement in August 2013, few would have anticipated that, within years, Article 37.19

would become central to a controversy between the political branches of the federal government.

       On November 8, 2016, Donald J. Trump was elected President of the United States. On

November 30, 2016, House Oversight Committee Ranking Member Elijah Cummings, joined by


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three other Representatives, sent a letter to then GSA Administrator Denise Turner Roth requesting

unredacted copies of lease documents, monthly and annual statements from Trump Post Office

LLC, and a briefing. Id. ¶ 13. On December 14, 2016, they sent another letter to GSA requesting

similar records. See id. ¶ 14. On December 22, 2016, Ranking Member Cummings, joined by 10

other members of the House Oversight Committee, sent a third letter to GSA that specifically

invoked the Seven Member Rule and demanded unredacted documents and expense reports related

to the Old Post Office lease agreement. See id. ¶ 15. By letter dated January 3, 2017, GSA

responded to these demands and produced the requested records, including amendments to the

lease, a 2017 budget estimate, and monthly income statements. Id. ¶ 16; see also id. (noting that

in the letter, GSA Associate Administrator Lisa A. Austin stated that the production was

“[c]onsistent with the Seven Member Rule and judicial and Department of Justice, Office of Legal

Counsel opinions” (alteration in original)).

       Upon his inauguration on January 20, 2017, President Trump became an “elected official

of the Government of the United States.” See id. ¶¶ 11, 18. Recall, Article 37.19 of the Old Post

Office lease provides that “[n]o . . . elected official of the Government of the United

States . . . shall be admitted to any share or part of this Lease, or to any benefit that may arise

therefrom.” Id. ¶ 11. Yet, according to Plaintiffs, neither President Trump nor his children have

divested their interests in Trump Old Post Office LLC. Id. ¶ 18. Concerned about potential

conflicts of interest, Ranking Member Cummings, along with the same three Representatives who

joined in the first two requests, sent a letter to then GSA Acting Administrator Timothy Horne on

January 23, 2017, asking GSA:

               (a) to explain the steps that GSA had taken, or planned to take, to
               address President Trump’s apparent breach of the lease agreement;
               (b) to state whether GSA intended to notify President Trump’s
               company that it is in breach; (c) to provide the monthly reports


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               President Trump’s company submits to the GSA on the Trump
               International Hotel’s revenues and expenses; (d) to explain and
               provide documentation of the steps GSA had taken, or planned to
               take, to address liens against the Trump International Hotel; and
               (e) to provide copies of all correspondence with representatives of
               President Trump’s company or the Trump transition team.

Id. ¶ 19. GSA did not comply with the request. Id. ¶ 20. Instead, by letter dated February 6, 2017,

GSA Acting Associate Administrator Saul Japson promised that “[s]hould the [House Oversight

Committee] or any seven members thereof submit a request pursuant to 5 U.S.C. § 2954, GSA will

review such a request.” Id.

       Members of the House Oversight Committee took Japson up on his invitation. On February

8, 2017, Ranking Member Cummings, joined by seven other committee members—all Democrats

in the minority—sent a letter to Horne demanding the same documents related to the Old Post

Office lease and, this time, specifically invoking section 2954. Id. ¶ 21. GSA did not respond to

the February 8th letter. Id. ¶ 22. It did, however, issue two important public statements in the

months that followed. First, on March 23, 2017, GSA issued a letter from a contracting officer

asserting that Trump Old Post Office LLC was in full compliance with Article 37.19 of the lease.

Id. ¶ 23. Second, in testimony before the House Committee on Appropriations in May 2017, Horne

announced that GSA would comply with oversight requests from Democrats if joined by a

Republican Chair of a committee. Id. ¶ 24. Horne did not acknowledge the Seven Member Rule

in his testimony. Id.

       Thereafter, Ranking Member Cummings and other minority members of the House

Oversight Committee continued their pursuit of records. By letter dated June 5, 2017, Ranking

Member Cummings, now joined by 17 other House Oversight Committee members (collectively




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“Plaintiffs”), 3 renewed the demand for records made in the February 8th letter and requested

additional records, including documents “containing legal interpretations of Section 37.19 of the

Old Post Office lease” and “relating to funds received from any foreign country, foreign entity, or

foreign source.” Id. ¶ 25. In this letter, Plaintiffs also asserted that GSA’s failure to provide the

requested information violated section 2954; was “inconsistent with prior practices of both

Republican and Democratic administrations and of GSA’s prior practice to honor requests made

under the Seven Member Rule”; and “thwart[ed] the ability of Committee members to carry out

their congressionally-delegated duty to perform oversight.” Id. Once more, GSA provided no

response. Undeterred, on July 6, 2017, Plaintiffs sent a third letter demanding a response to their

previous requests. See id. ¶ 26.

         GSA responded in writing to this third demand, but produced no records. By letter dated

July 17, 2017, GSA Associate Administrator P. Brennan Hart, III denied Plaintiffs’ request, citing

a recent Office of Legal Counsel (“OLC”) memorandum. Id. ¶ 27. Quoting from the OLC

memorandum, Hart’s letter states that “[i]ndividual members of Congress, including ranking

minority members, do not have authority to conduct oversight in the absence of a specific

delegation by a full house, committee, or subcommittee,” and that “the Executive Branch’s

longstanding policy has been to engage in the established process for accommodating

congressional requests for information only when those requests come from a committee,

subcommittee, or chairman authorized to conduct oversight.” Id. (alteration in original); see also

Pls.’ Cross-Mot. for Summ. J. & Opp’n to Def.’s Mot. to Dismiss, ECF No. 11 [hereinafter Pls.’



3
  In both the June 5, 2017, letter referenced above, as well as the July 6, 2017, letter discussed below, Ranking Member
Cummings was joined by 17 other minority members of the House Oversight Committee—only 16 of whom are
Plaintiffs in this action. Compare Compl., with Pls.’ Cross-Mot. for Summ. J. & Opp’n to Def.’s Mot. to Dismiss,
ECF No. 11, Exs. 9–10, ECF Nos. 11-11 and 11-12. By collectively referring to the authors of these letters as
“Plaintiffs,” the court only intends to refer to those committee members named in this action, see generally supra note
1 (listing Plaintiffs).

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Cross-Mot.], Ex. 11, ECF No. 11-13. The OLC memorandum did not, however, address requests

made under section 2954. Compl. ¶ 28; see also Authority of Individual Members of Congress to

Conduct Oversight of the Executive Branch, 2017 WL 5653624 (O.L.C. May 1, 2017). Three

days later, on July 20, 2017, the White House changed course. It sent a letter to Senator Charles

Grassley, stating that “the OLC opinion ‘does not set forth Administration policy’ and that ‘[t]he

Administration’s policy is to respect the rights of all individual Members, regardless of party

affiliation, to request information about Executive branch policies and programs.’” Compl. ¶ 29

(alteration in original) (emphasis added).

        Notwithstanding this stated position, GSA still has yet to produce any records in direct

response to Plaintiffs’ Seven Member Rule requests. See id. ¶ 30. Instead, GSA has announced,

apparently for the first time in this litigation, that it will treat Plaintiffs’ requests as if made under

the Freedom of Information Act (“FOIA”). See Def.’s Mot. to Dismiss, ECF No. 8, Def.’s Mem.

of P. & A. [hereinafter Def.’s Mem.], at 10; Hr’g Tr., ECF No. 19, at 11. Not surprisingly,

Plaintiffs are not satisfied with production pursuant to FOIA. Cf. Hr’g Tr. at 54–56.

        C.      Procedural Background

        Plaintiffs commenced this action against GSA’s Administrator on November 2, 2017. See

generally Compl. In their Complaint, Plaintiffs assert that Defendant’s refusal to provide the

requested information regarding GSA’s implementation of the Old Post Office lease agreement

with Trump Old Post Office LLC thwarts Plaintiffs’ ability to:

                (a) evaluate the propriety of GSA’s failure to enforce Article 37.19
                of the lease which, by its express terms, forbids President Donald




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               Trump, an “elected official of the Government of the United States,”
               from benefiting from the lease in any way;

               (b) evaluate GSA’s oversight of the lease, including financial
               management of the lease;

               (c) ascertain the amount of income from the lease benefiting
               President Donald Trump, his daughter Ivanka Trump, and his sons
               Donald, Jr., and Eric Trump;

               (d) determine the extent to which Trump Old Post Office LLC has
               received funds from foreign countries, foreign entities, or other
               foreign sources;

               (e) assess whether GSA’s failure to act is based on a new
               interpretation of Article 37.19 of the lease, and if so, to review the
               legal opinion or opinions on which the new interpretation is based;

               (f) evaluate whether the GSA contracting officer’s decision that the
               Trump Old Post Office LLC is in compliance with the lease was free
               from inappropriate influence; and

               (g) recommend to the [House Oversight] Committee, and to the
               House of Representatives, legislative and other actions that should
               be taken to cure any existing conflict of interest, mismanagement,
               or irregularity in federal contracting.

Id. ¶ 36. Plaintiffs seek a declaration that Defendant’s failure to provide the requested information

violates section 2954, and ask the court to order Defendant to produce the requested information

without redactions. See id. ¶¶ 6, 30–31; see also id. at 13–14. As the statutory basis for their

claims, Plaintiffs rely on the Administrative Procedure Act, 28 U.S.C. §§ 701 et seq.; the

Mandamus Act, see 28 U.S.C. § 1361; the All Writs Act, 28 U.S.C. § 1651; and the Declaratory

Judgment Act, see 28 U.S.C. §§ 2201–2202. See Compl. ¶¶ 6, 31–35.

       On January 8, 2018, Defendant moved to dismiss the case pursuant to Federal Rules of

Civil Procedure 12(b)(1) and 12(b)(6).       See Def.’s Mem.      Defendant makes four separate

arguments in her Motion to Dismiss. First, Defendant contends that Plaintiffs’ claims must be

dismissed for lack of subject-matter jurisdiction under Rule 12(b)(1) because Plaintiffs, as


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individual Members of Congress, lack standing to vindicate the institutional interests of Congress

as a whole. Id. at 1, 11–23. Second, Defendant argues that the court should dismiss Plaintiffs’

claims under Rule 12(b)(6) for failure to state a claim, because neither section 2954 nor the other

statutes on which Plaintiffs base their claims provide a cause of action. Id. at 2, 23–35. Third,

Defendant maintains that the court should decline to hear this case under principles of equitable

discretion. Id. at 35–36. And, finally, Defendant asserts that even if the court were to reach the

merits, Plaintiffs’ claims still fail, because their demands for records fall outside the scope of

section 2954. See id. at 2–3, 36–39. As to this final argument, Defendant submits the term “any

information” in section 2954 does not really mean “any information,” but rather any information

“contained in the agency reports that Congress abolished in 1928,” id. at 39. Because the

information that Plaintiffs requested is not covered by one of those 128 reports, Defendant argues,

Plaintiffs have failed to state a violation of section 2954 in this case. See id.; see also Def.’s Reply

& Opp’n to Pls.’ Cross-Mot. for Summ. J., ECF No. 14, at 26–27.

        Plaintiffs opposed Defendant’s Motion on February 5, 2018, and simultaneously moved

for summary judgment on the merits of their claims pursuant to Rule 56. See generally Pls.’ Cross-

Mot., Pls.’ Mem. in Supp., ECF 11-1 [hereinafter Pls.’ Mem.].                Plaintiffs maintain that

section 2954 unambiguously requires GSA to provide the requested information about GSA’s

implementation of the Old Post Office lease, as such information falls squarely within the House

Oversight Committee’s jurisdiction and more than seven members have joined in the request. See

id. at 5, 12–13, 20–21.

       The court held oral argument on the parties’ motions on July 12, 2018. Those motions are

now ripe for consideration.




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III.    LEGAL STANDARD

        Because standing implicates the court’s subject-matter jurisdiction, see Arpaio v. Obama,

797 F.3d 11, 19 (D.C. Cir. 2015), the court first must consider Defendant’s motion to dismiss

under Rule 12(b)(1), see Sinochem Int’l Co. v. Malay. Int’l Shipping Corp., 549 U.S. 422, 430–31

(2007) (“[A] federal court generally may not rule on the merits of a case without first determining

that it has . . . subject-matter jurisdiction[ ] . . . .”); Conference of State Bank Supervisors v. Office

of Comptroller of Currency, No. 17-cv-0763, 2018 WL 2023507, at *3 (D.D.C. Apr. 30, 2018)

(“A motion to dismiss for lack of standing proceeds under Rule 12(b)(1) because ‘the defect of

standing is a defect in subject matter jurisdiction.’” (quoting Haase v. Sessions, 835 F.2d 902, 906

(D.C. Cir. 1987)).

        When evaluating a Rule 12(b)(1) motion, the court “must . . . ‘accept all [well-pleaded]

factual allegations in [the] complaint as true.’” Jerome Stevens Pharm., Inc. v. Food & Drug

Admin., 402 F.3d 1249, 1253–54 (D.C. Cir. 2005) (third alteration in original) (quoting United

States v. Gaubert, 499 U.S. 315, 327 (1991)). Additionally, the court may consider materials

outside the pleadings “as it deems appropriate to resolve the question whether it has jurisdiction to

hear the case.” Scolaro v. D.C. Bd. of Elections & Ethics, 104 F. Supp. 2d 18, 22 (D.D.C. 2000);

see also Herbert v. Nat’l Acad. of Scis., 974 F. 2d 192, 197 (D.C. Cir. 1992) (“[W]here necessary,

the court may consider the complaint supplemented by undisputed facts evidenced in the record,

or the complaint supplemented by undisputed facts plus the court’s resolution of disputed facts.”).

The plaintiff bears the burden of establishing that the court has subject-matter jurisdiction. See

Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992).




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IV.     DISCUSSION

        The threshold—and, ultimately, dispositive—issue in this case is whether Plaintiffs, as

individual members of the House Oversight Committee, have standing to sue GSA to produce the

records requested under section 2954.

        The doctrine of standing derives from Article III, section 2, of the U.S. Constitution, which

limits the jurisdiction of federal courts to “Cases” or “Controversies.” U.S. Const. art. III, § 2;

Lujan, 504 U.S. at 560. The standing inquiry focuses on whether the plaintiff is the proper party

to bring an action. Arizona State Legislature v. Arizona Indep. Redistricting Comm’n, 135 S. Ct.

2652, 2663 (2015). “[T]he law of Art. III standing is built on a single basic idea—the idea of

separation of powers,” Raines v. Byrd, 521 U.S. 811, 820 (1997) (quoting Allen v. Wright, 468

U.S. 737, 752 (1984)), and “the proper—and properly limited—role of the courts in a democratic

society,” Warth v. Seldin, 422 U.S. 490, 498 (1975). These concerns “are particularly acute”

where, as here, “a legislator attempts to bring an essentially political dispute into a judicial forum.”

Chenoweth v. Clinton, 181 F.3d 112, 114 (D.C. Cir. 1999).

        “The ‘irreducible constitutional minimum of standing contains three elements’: [1] injury

in fact, [2] causation, and [3] redressability.” Arpaio, 797 F.3d at 19 (quoting Lujan, 504 U.S. at

560). At issue in this case is the first prong of the standing analysis—whether Plaintiffs have

suffered a legally cognizable injury in fact. There is no dispute as to the other two. To establish

an injury in fact, a plaintiff must demonstrate that the alleged injury is “personal, particularized,

concrete, and otherwise judicially cognizable.” Raines, 521 U.S. at 820. With respect to these

first two requirements, the Supreme Court has “consistently stressed that a plaintiff’s complaint

must establish that he has a ‘personal stake’ in the alleged dispute, and that the alleged injury

suffered is particularized as to him.” Id. at 819. As to the last two requirements, the Court has



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emphasized that the plaintiff must have suffered “an invasion of a legally protected interest which

is . . . concrete,” id. (quoting Lujan, 504 U.S. at 560), and that the dispute must be one

“traditionally thought to be capable of resolution” by the courts, id. (quoting Flast v. Cohen, 392

U.S. 83, 97 (1968)).

       Although these general standing principles frame the question presented here, the outcome

of the case in large part turns on application of the Supreme Court’s decision in Raines v. Byrd.

The court therefore starts with a detailed discussion of Raines before addressing the parties’

specific arguments.

       A.      Raines v. Byrd

       In Raines, six individual Members of Congress sued the Secretary of Treasury and the

Director of the Office of Management and Budget seeking a declaration that the Line Item Veto

Act, which had passed both houses of Congress over the plaintiffs’ “nay” votes, was

unconstitutional. 521 U.S. at 814. The Act authorized the President to “cancel” certain spending

and tax measures after signing a bill into law, unless the cancellation was subsequently overridden

by Congress by joint resolution. Id. The Act also provided that any Member of Congress or

individual adversely affected by the Act could bring an action challenging any provision of the

Act as unconstitutional. Id. at 815–16. The plaintiffs filed suit under that provision, claiming that

the Act constituted an unconstitutional expansion of presidential authority and violated the

requirements of bicameral passage and presentment by allowing the President alone “to cancel and

thus repeal provisions of federal law.” Id. at 816 (internal quotation marks omitted). They further

alleged that the Line Item Veto Act injured them directly and concretely by:

               (a) alter[ing] the legal and practical effect of all votes they may cast
               on bills containing such separately vetoable items, (b) divest[ing]
               the [plaintiffs] of their constitutional role in the repeal of legislation,
               and (c) alter[ing] the constitutional balance of powers between the


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               Legislative and Executive Branches, both with respect to measures
               containing separately vetoable items and with respect to other
               matters coming before Congress.

Id. (internal quotation marks omitted).

       The defendants moved to dismiss for lack of jurisdiction, arguing that the plaintiffs did not

have standing to sue. Id. Both parties also filed motions for summary judgment on the merits. Id.

The district court denied the defendants’ motion to dismiss and granted the plaintiffs’ summary

judgment motion, holding that the Line Item Veto Act was unconstitutional. Id. On direct appeal,

the Supreme Court vacated the judgment of the district court, see id. at 817–18, holding that the

plaintiffs lacked Article III standing because they “[did] not have a sufficient ‘personal stake’ in

th[e] dispute and ha[d] not alleged a sufficiently concrete injury,” id. at 830. In finding no

“legislative standing,” see id. at 820, the Court distinguished two prior cases in which it had

determined that legislators did have standing to bring suit: Powell v. McCormack, 395 U.S. 486

(1969), and Coleman v. Miller, 307 U.S. 433 (1939). See Raines, 521 U.S. at 820–26.

       Starting with Powell, the Court explained that the Raines plaintiffs did not possess what

was present in Powell: a sufficiently personal injury. See Raines, 521 U.S. at 821. In Powell, the

U.S. House of Representatives refused to seat the plaintiff, Adam Clayton Powell, Jr., for making

false reports about travel expenses and diverting House funds to his wife in the form of illegal

salary payments. 395 U.S. at 490, 492–93. Powell challenged the constitutionality of his exclusion

(and his consequent loss of salary), arguing that the House could not prevent a duly elected person

from taking his seat for any reason other than the failure to meet the age, citizenship, and residence

requirements contained in Article I, section 2, of the Constitution—“requirements the House

specifically found Powell met.” Id. at 489. The Supreme Court ultimately held that Powell’s

challenge presented an Article III case or controversy. See id. at 495–96, 512, 517–18, 549–50.



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        In Raines, the Court distinguished its decision in Powell on two key grounds, which merit

quotation in full:

                Powell does not help [plaintiffs]. First, [plaintiffs] have not been
                singled out for specially unfavorable treatment as opposed to other
                Members of their respective bodies. Their claim is that the Act
                causes a type of institutional injury (the diminution of legislative
                power), which necessarily damages all Members of Congress and
                both Houses of Congress equally. Second, [plaintiffs] do not claim
                that they have been deprived of something to which they personally
                are entitled—such as their seats as Members of Congress after their
                constituents had elected them. Rather, [plaintiffs’] claim of standing
                is based on a loss of political power, not loss of any private right,
                which would make the injury more concrete. Unlike the injury
                claimed by Congressman Adam Clayton Powell, the injury claimed
                by the Members of Congress here is not claimed in any private
                capacity but solely because they are Members of Congress. If one
                of the Members were to retire tomorrow, he would no longer have a
                claim; the claim would be possessed by his successor instead. The
                claimed injury thus runs (in a sense) with the Member’s seat, a seat
                which the Member holds (it may quite arguably be said) as trustee
                for his constituents, not as a prerogative of personal power.

Raines, 521 U.S. at 821 (first and second emphases added) (citations omitted).

        The Court then proceeded to distinguish its prior decision in Coleman v. Miller, which the

Court characterized as “[t]he one case in which we have upheld standing for legislators (albeit

state legislators) claiming an institutional injury.” Raines, 521 U.S. at 821. In Coleman, 20 of

Kansas’ 40 state senators voted not to ratify the proposed “Child Labor Amendment” to the Federal

Constitution. 307 U.S. at 435–36. The vote deadlocked, such that the amendment ordinarily would

not have been ratified. Id. at 436. To break this tie, the Lieutenant Governor, the presiding officer

of the State Senate, cast a vote in favor of the amendment, and the amendment was deemed ratified

(after the State House of Representatives voted to ratify it). Id. The 20 state senators who had

voted against the amendment, joined by another state senator and three members of the State House

of Representatives, challenged the right of the Lieutenant Governor to cast the deciding vote, and



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sought a writ of mandamus to compel state officials to recognize that the legislature had not in fact

ratified the amendment. Id. The Supreme Court held that the 20 state senators who had voted

against the amendment had standing to sue because their “votes against ratification [had] been

overridden and virtually held for naught although . . . their votes would have been sufficient to

defeat ratification.” Id. at 438. Because the state senators had “a plain, direct and adequate interest

in maintaining the effectiveness of their votes,” the Court held that the plaintiffs had standing. See

id. at 437–38.

        In Raines, the Court explained that a key factor of its decision in Coleman was that the

senators’ “votes not to ratify the amendment were deprived of all validity.” Raines, 521 U.S. at

823. The Court in Raines then explicitly limited the scope of its holding in Coleman:

                 It is obvious, then, that our holding in Coleman stands (at most . . .)
                 for the proposition that legislators whose votes would have been
                 sufficient to defeat (or enact) a specific legislative Act have standing
                 to sue if that legislative action goes into effect (or does not go into
                 effect), on the ground that their votes have been completely nullified.

Id. (emphasis added); accord Chenoweth, 181 F.3d at 116–17; see also Campbell v. Clinton, 203

F.3d 19, 23 (D.C. Cir. 2000) (characterizing Coleman as “a very narrow possible . . . exception to

Raines”).

        With the reach of Coleman now limited, the Court concluded that the Raines plaintiffs’

claim “obvious[ly]” did not fall within its holding in Coleman, because the plaintiffs did not allege

“that they voted for a specific bill, that there were sufficient votes to pass the bill, and that the bill

was nonetheless deemed defeated.” Raines, 521 U.S. at 824. To the contrary, the plaintiffs’ votes

on the Line Item Veto Act “were give full effect,” but the plaintiffs “simply lost that vote.” Id.

Similarly, the Court reasoned that the plaintiffs could not allege that the Act would “nullify their

votes in the future in the same way that the votes of the Coleman legislators had been nullified,”



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id., because the Raines plaintiffs had a sufficient legislative remedy, see id. (noting that Congress

could still pass or reject appropriations bills, or even repeal the Act or exempt a given

appropriations bill or provision therein from its reach); see also Campbell, 203 F.3d at 22–23.

Furthermore, while the plaintiffs attempted to shoehorn their case into the Coleman mold by

suggesting that the Line Item Veto Act reduced the “effectiveness,” “meaning,” and “integrity” of

their votes by allowing the President to cancel certain spending projects, the court rejected this

argument. Raines, 521 U.S. at 825. Instead, the Court found that there was “a vast difference

between the level of vote nullification at issue in Coleman and the abstract dilution of institutional

legislative power” alleged in Raines. Id. at 826. Thus, the Court ultimately refused to extend

Coleman to uphold standing for the plaintiffs in Raines. Id.

       The Court did not end its analysis there, however. It went on to find that “historical practice

appear[ed] to cut against” the plaintiffs, as well. See id. The Court explained that in several similar

disputes between one or both Houses of Congress and the Executive Branch, neither branch of

government had brought suit based on a claimed injury to official authority or power. Id. at 826–

28. Based on that history, the Court reasoned, a system in which the judiciary waded in to resolve

such claims “is obviously not the regime that has obtained under our Constitution to date,” which

“contemplates a more restricted role for Article III courts.” Id. at 828.

       In light of the foregoing analysis, the Court ultimately held that the individual Members of

Congress in Raines lacked standing to sue because they “alleged no injury to themselves as

individuals (contra, Powell), the institutional injury they allege[d] [was] wholly abstract and

widely dispersed (contra, Coleman), and their attempt to litigate this dispute at this time and in this

forum [was] contrary to historical experience.” Id. at 829. Importantly, the Court also identified

several other factors that it found relevant to its decision. For instance, the Court “attach[ed] some



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importance” to the fact that the plaintiffs “ha[d] not been authorized to represent their respective

Houses of Congress in this action, and indeed, both Houses actively oppose[d] their suit.” Id.

Additionally, the Court noted that its holding “neither deprive[d] Members of Congress of an

adequate remedy . . . nor foreclose[d]” the possibility of a future constitutional challenge in court,

as long it was brought by someone “who suffer[ed] judicially cognizable injury.” Id. at 829–30.

                                          *       *       *

       To summarize, the following principles emerge from Raines. Individual Members of

Congress generally do not have standing to vindicate the institutional interests of the house in

which they serve. This means that Members of Congress may go to court to demand something

to which they are privately entitled, see Powell, 395 U.S. 486, but they cannot claim harm suffered

solely in their official capacities as legislators that “damages all Members of Congress and both

Houses of Congress equally,” see Raines, 521 U.S. at 821, 829; cf. Arizona, 135 S. Ct. at 2664.

Otherwise, to establish standing under Raines, individual Members of Congress alleging

institutional injury must, at the very least, assert an injury that is neither “wholly abstract” nor

“widely dispersed.” Walker v. Cheney, 230 F. Supp. 2d 51, 64 (D.D.C. 2002) (quoting Raines,

521 U.S. at 829).

       Complete vote nullification is clearly a type of an institutional injury sufficient to support

legislator standing. See Raines, 521 U.S. at 826 (“There is a vast difference between the level of

vote nullification at issue in Coleman and the abstract dilution of legislative power that is alleged

here.”); id. at 829 (explaining that the “institutional injury” alleged by the plaintiffs was “wholly

abstract and widely dispersed (contra, Coleman)”). What is less clear, however, is whether vote

nullification is the only type of institutional injury that grants individual legislators standing to

seek redress consistent with Raines. Courts in this District have recognized, at least implicitly,



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that other types of institutional injuries can be redressed by Article III courts. Those cases,

however, have arisen almost exclusively in the subpoena enforcement context and have involved

circumstances in which the plaintiff was a congressional committee that was “duly authorized” to

bring suit by House resolution. See, e.g., Comm. on Oversight & Gov’t Reform v. Holder, 979

F. Supp. 2d 1, 14, 20–22 (D.D.C. 2013); Comm. on Judiciary v. Miers, 558 F. Supp. 2d 53, 71

(D.D.C. 2008). In those cases, courts have found congressional authorization to be the “key”

distinguishing factor, “mov[ing] th[e] case from the impermissible category of an individual

plaintiff asserting an institutional injury” in Raines “to the permissible category of an institutional

plaintiff asserting an institutional injury.” Miers, 558 F. Supp. 2d at 71; accord Holder, 979

F. Supp. 2d at 14, 20–22; cf. U.S. House of Representatives v. Burwell, 130 F. Supp. 3d 53, 67,

71–72 (D.D.C. 2015) (noting in a case involving an appropriations challenge to the Affordable

Care Act that the plaintiff was the “House of Representatives, duly authorized to sue as an

institution, not individual members as in Raines,” which the court found to be a “critical”

distinction).

        This case then presents a unique factual circumstance. Individual Members of Congress

are seeking to vindicate a statutory right to information and to compel the production of records

from the Executive Branch without authorization from the institution to do so. Do they have

standing consistent with Raines? The court now turns to answer that question.

        B.      Application of Raines

                1.     Does the Statutory Right Here Make This Case Different From Raines?

        To begin, Plaintiffs contend that this case falls outside of Raines, because the informational

injury they assert is sufficient to confer standing under the Supreme Court’s decision in Spokeo,

Inc. v. Robins, 136 S. Ct. 1540 (2016). See Pls.’ Mem. at 23–25. According to Plaintiffs, the



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denial of information requested under section 2954 itself constitutes an injury in fact, as the

Supreme Court “has often held that deprivation of a statutory right to access to information

constitutes injury.” Id. at 24.

       To be sure, the Supreme Court in Spokeo recognized that the deprivation of a statutory

right to information can be a sufficiently personal, particularized, and concrete injury. See 136

S. Ct. at 1548; id. at 1549–50 (citing FEC v. Akins, 524 U.S. 11, 20–25 (1998); and Public Citizen

v. U.S. Dep’t of Justice, 491 U.S. 440, 449 (1989)); see also Friends of Animals v. Jewell, 828

F.3d 989, 992 (D.C. Cir. 2016) (explaining that the deprivation of a statutory right to information

constitutes a “sufficiently concrete and particularized” injury where the plaintiff “suffers, by being

denied access to that information, the type of harm Congress sought to prevent by requiring

disclosure”). This is true even when a statute broadly confers a general right to access to

information on “any person.” See Akins, 524 U.S. at 19–21, 24–25 (holding that a group of voters’

“inability to obtain information” subject to public disclosure under the Federal Election Campaign

Act constituted an “injury in fact”); cf. Public Citizen, 491 U.S. at 447–50 (holding that two

advocacy organizations had standing to sue the Department of Justice for refusal to provide

information subject to disclosure under the Federal Advisory Committee Act because they had

suffered “a sufficiently distinct injury”). Plaintiffs therefore are correct that individuals may

sustain an injury in fact when they are denied a statutory right to information. See Spokeo, 136

S. Ct. at 1549–50; see also Owner-Operator Indep. Drivers Ass’n v. U.S. Dep’t of Transp., 879

F.3d 339, 343–44 (D.C. Cir. 2018).

       But Spokeo also made clear that the mere denial of a statutory right does not automatically

give rise to a cognizable injury in fact for purposes of Article III standing. The Court stated:

               Congress’ role in identifying and elevating intangible harms does
               not mean that a plaintiff automatically satisfies the injury-in-fact


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                 requirement whenever a statute grants a person a statutory right and
                 purports to authorize that person to sue to vindicate that right.
                 Article III standing requires a concrete injury even in the context of
                 a statutory violation.

Spokeo, 136 S. Ct. at 1549; see also id. at 1547–48 (“[I]t is settled that Congress cannot erase

Article III’s standing requirements by statutorily granting the right to sue to a plaintiff who would

not otherwise have standing.” (quoting Raines, 521 U.S. at 820 n.3)). Spokeo itself cites to Raines,

in which the Court refused to recognize standing even though Congress had specifically granted

Members the statutory right to challenge the constitutionality of the Line Item Veto Act. See

Raines, 521 U.S. at 815–16, 829–30. Thus, the mere fact that Plaintiffs here have been denied a

statutory right to information conferred by the Seven Member Rule cannot alone resolve the

standing question.

          The other Supreme Court decisions on which Plaintiffs rely—Akins and Public Citizen—

do not compel a different result. See Pls.’ Mem. at 24–25. In both cases, the statutes at issue

entitled members of the public, not Members of Congress, to request agency records. See Akins,

524 U.S. at 19; Public Citizen, 491 U.S. at 446–47. Also, in both cases the suits were “brought by

private parties, not government officials, and thus involved injuries in which the plaintiffs (having

no official, governmental interests) had only a personal stake.” Walker, 230 F. Supp. 2d at 66 n.10

(emphasis added). Thus, the personal/institutional injury distinction made in Raines, which rests

at the heart of this case, had no application in either Akins or Public Citizen. Therefore, it is not

simply enough for this particular group of plaintiffs to point to an informational injury arising from

an unmet statutory demand to demonstrate standing. They must establish standing consistent with

Raines.




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               2.      Plaintiffs Allege Institutional, Not Personal, Injury

       The parties here agree on one thing about Raines: In cases such as this one, where suit is

brought by individual Members of Congress, Raines establishes a binary rubric of potential injuries

for purposes of assessing standing. Stated more simply, they agree that the alleged injury in such

cases is either personal or institutional. See Def.’s Mem. at 15–22; cf. Pls.’ Mem. at 27; Hr’g Tr.

at 28–29. Where the parties part ways, however, is in characterizing the type of injury Plaintiffs

claimed to have suffered here.

       Defendant contends that GSA’s non-response to Plaintiffs’ Seven Member Rule requests

is not an injury that is personal to Plaintiffs. Rather, when Plaintiffs seek information from the

Executive Branch pursuant to section 2954, Defendant argues, “they do so exclusively in their

capacities as members of the Oversight Committee” for “the benefit of the entire House.” Def.’s

Mem. at 15. Defendant notes that, just as in Raines, if Plaintiffs were to retire tomorrow, they

would no longer be entitled to request information under section 2954. Id. at 16. Plaintiffs push

back on this logic, arguing that the injury they allege is sufficiently personal and particularized as

to them as minority members of the House Oversight Committee whose Seven Member Rule

requests were denied. Pls.’ Mem. at 27–28. The fact that they suffered injury in their official

capacities as legislators, Plaintiffs insist, does not disqualify the injury as one that is sufficiently

personal to them. Id. Notably, only one other federal court has addressed this issue, and it ruled

that individual members of the House Oversight Committee did not suffer a personal injury when

their Seven Member Rule request went unanswered. See Waxman v. Thompson (“Waxman II”),

No. 04-03467, 2006 WL 8432224, at *6–12 (C.D. Cal. July 24, 2006).

       This court agrees with Defendant and the court in Waxman II that Plaintiffs did not suffer

a “personal” injury, as the term is used in Raines, by GSA’s failure to produce documents in



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response to their Seven Member Rule requests. Plaintiffs’ injury arises not “in any private

capacity,” but “solely because they are Members of Congress.” Raines, 521 U.S. at 821. Plaintiffs’

Complaint makes this clear, as it characterizes their injury as a “depriv[ation] . . . of information

to which they are entitled by law” under section 2954 as a group of at least seven members of the

House Oversight Committee. Compl. ¶ 36; see id. ¶ 31. Indeed, Plaintiffs tie their injury directly

to their constitutional duties as legislators, claiming their alleged harm to be the “impedance of the

oversight and legislative responsibilities that have been delegated to them by Congress.” Id. ¶ 36;

see also Pls.’ Mem. at 22 (describing Plaintiffs’ injury as “the deprivation of information to which

they are entitled by law and that they need in order to perform their congressionally-delegated

oversight function” (emphasis added)). Thus, Plaintiffs do not assert a loss of any “private right.”

See Raines, 521 U.S. at 821. Additionally, just as in Raines, “[i]f one of the [Plaintiffs] were to

retire tomorrow, he would no longer have a claim.” Id. The alleged injury therefore “runs (in a

sense) with the [Plaintiff’s] seat,” which is not held “as a prerogative of personal power.” Id. 4

         Notwithstanding these parallels to Raines, Plaintiffs insist that they have suffered a

“personal” injury. See generally Pls.’ Mem. at 22–29. According to Plaintiffs, Raines’ definition

of personal injury does not exclude injury suffered in legislators’ official capacities, because

Raines reaffirms Powell and Coleman and thus makes clear that “legislators have standing to bring

suit where an injury is personal to them, even when their injury is inextricably tied to their positions

as members of the legislature.” Id. at 27; see also id. at 28 (“[I]n Powell and Coleman, the Court

clearly understood the ‘personal injury’ element to require only that the injury be suffered by an



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  As the court in Waxman II observed, “[t]he right does not, strictly speaking, ‘run’ with the seat, since a successor to
one of the named plaintiffs might not be named to the [House Oversight] Committee, or if designated a member of
that committee, might not join in a request for information,” and “[s]uch a member would not have standing to
challenge the denial of his or her predecessor’s records request.” 2006 WL 8432224, at *8 n.26. Nevertheless, if a
plaintiff in this case were to retire, the claim as to that plaintiff would not survive his or her retirement. See id. at *8.


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identifiable party rather than the institution itself, and not that the right infringed must be ‘personal’

in the sense of being private.”). Plaintiffs therefore contend that their asserted injury is “personal”

to them as individual members of the House Oversight Committee who joined in the Seven

Member Rule requests, even if the informational right is suffered in their official capacities as

legislators and thus not personal in the sense of being “private.” See id. at 27–28.

        Try as they may, Plaintiffs cannot shape their claimed harm into the type of “personal”

injury recognized in Raines as sufficient to confer standing on an individual Member of Congress.

That conclusion is clear in light of the Raines Court’s distinguishing of Powell. In Powell, the

underlying question was whether Adam Clayton Powell, Jr., an American citizen having met the

age and residency requirements laid out in the Constitution and having been elected to the U.S.

House of Representatives, had a right to be seated despite the House of Representative’s refusal to

seat him. See 395 U.S. at 489. The Court in Raines described Powell’s claim as asserting a “private

right,” that is, the right to be seated in the House as a result of his election by his constituents. See

521 U.S. at 821. By contrast, the Court continued, the plaintiffs in Raines had not been “deprived

of something to which they personally are entitled”; rather, their injury was claimed “not . . . in

any private capacity but solely because they [were] Members of Congress.” Id. So, too, here.

Plaintiffs’ rights under the Seven Member Rule derive solely from their membership in the House

of Representatives and, even more specifically, their assignment to the House Oversight

Committee. Again, if a Plaintiff here were to lose her seat, she likewise would lose all rights under

the Seven Member Rule.

        Plaintiffs further argue that the informational injury they suffered is personal because, “in

sharp contrast to Raines, . . . all Members of Congress of both Houses [do not] share this injury

‘equally,’ which is how Raines defined ‘institutional injury.’” Pls.’ Mem. at 27 (quoting Raines,



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521 U.S. at 821). But in Raines, the Court merely observed that the plaintiffs there, unlike Powell,

had “not been singled out for specially unfavorable treatment” and, in that sense, had asserted “a

type of institutional injury (the diminution of legislative power), which necessarily damages all

Members of Congress and both Houses of Congress equally.” Raines, 521 U.S. at 821. The same

is true here. Plaintiffs have not been “singled out for specially unfavorable treatment” like Adam

Clayton Powell. Rather, their claimed injury is institutional because it is rooted in a right granted

to them as Members of Congress. True, the deprivation of that right is not necessarily shared

“equally” by “every member of the Committee, let alone every member of the House or Congress.”

See Pls.’ Mem. at 24, 27. Thus, in some sense, Plaintiffs’ injury as seventeen members of the

House Oversight Committee who joined in the Seven Member Rule requests is more particularized

than the injury in Raines. But the fact that all Members might not share in the informational harm

Plaintiffs claim is not the distinguishing feature between a personal and institutional injury under

Raines. As the foregoing discussion makes clear, the Raines Court distinguished the injury

asserted in Powell not only because the Raines plaintiffs suffered an injury that “necessarily

damages all Members of Congress . . . equally,” but also because they failed to claim that they had

been “deprived of something to which they personally are entitled,” which would have made the

injury “more concrete.” Raines, 521 U.S. at 821. In other words, the Court did not suggest that

an injury qualifies as “personal” simply because it is not shared equally by every other Member of

Congress. See Walker, 230 F. Supp. 2d at 64, 66–68. Thus, the fact that Plaintiffs’ injury is more

particularized than the plaintiffs’ injury in Raines does not render Plaintiffs’ injury analogous to

the one suffered by Powell. Cf. Common Cause v. Biden, 909 F. Supp. 2d 9, 24 (D.D.C. 2012)

(noting that in order to qualify for the Powell “exception[]” to the legislative standing doctrine




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announced in Raines, individual Congress members must have been “individually deprived of

something they are personally entitled to” (emphases added)).

        Nor does Coleman help Plaintiffs to define their injury as “personal” in nature. Admittedly,

like the plaintiffs in Coleman who were found to have standing, Plaintiffs here assert injury arising

in their official capacities. But the parallel goes no further. The Raines Court cited Coleman as

an exception to the general rule that institutional injury cannot confer standing upon an individual

Congress member, and not as an example of a case in which a legal interest stemming from a

plaintiff’s official status as a legislator can give rise to a private injury. See Raines, 521 U.S. at

821 (“The one case in which we have upheld standing for legislators . . . claiming an institutional

injury is Coleman . . . .” (emphasis added)). Furthermore, the Court strictly cabined this exception

in Raines, requiring complete vote nullification. Id. at 823–24; accord Chenoweth, 181 F.3d at

116–17; accord Campbell, 203 F.3d at 22–23. Vote nullification is not at issue here.

        The foregoing conclusions are consistent with another decision from this District Court,

Walker v. Cheney. There, the court held that the Comptroller General of the United States lacked

standing to sue to enforce a request to Vice President Dick Cheney for information regarding the

National Energy Policy Development Group (“NEPDG”). See 230 F. Supp. 2d at 52–53. The

Comptroller General, as the head of the General Accounting Office and an agent of Congress, has

authority under various statutes to carry out investigations for the benefit of Congress. See id. at

53–54. When the requested records were not forthcoming, the Comptroller General sued Vice

President Cheney, NEPDG’s Chair. Id. at 53, 58. The Walker court held that the Comptroller

General lacked standing, in part because he had failed to show any harm suffered in a private sense.

Id. at 65–66, 74. While the “Vice President’s refusal to disclose the requested documents may

have frustrated plaintiff in his efforts to fulfill his statutory role,” the court found that “plaintiff



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himself ha[d] no personal stake in th[e] dispute.” Id. at 66. The plaintiff did not claim that he had

“been deprived of something to which he personally [was] entitled.” Id. (cleaned up) (quoting

Raines, 521 U.S. at 821). Rather, his interest in the dispute was “solely institutional, relating

exclusively to his duties in his official capacity as Comptroller General of the United States.” Id.

        Like the Comptroller General, Plaintiffs here have not “been deprived of something to

which [they] personally are entitled,” Raines, 521 U.S. at 821, and thus lack a personal stake in

this dispute. Their interests in this action—gaining access to information related to GSA’s lease

with Trump Old Post Office LLC in order to carry out their oversight responsibilities—relate

“exclusively to [their] duties in [their] official capacit[ies] as” members of the House Oversight

Committee. See Walker, 230 F. Supp. 2d at 66. Thus, because Plaintiffs only allege harm

stemming from their official status as legislators, as opposed to injury suffered in their private

capacities, Plaintiffs fail to allege sufficiently personal injury under Raines.

                3.      Plaintiffs’ Claimed Institutional Injury Is Insufficient to Confer Standing

        Because Plaintiffs fail to assert a personal injury, the question remains whether they have

suffered the type of institutional injury that is sufficient to confer standing. See Hr’g Tr. at 28–29

(arguing that even if the court characterizes Plaintiffs’ injury as institutional in nature, their injury

is distinguishable from the harm asserted in Raines because it is sufficiently concrete and

particularized to Plaintiffs). That question raises a threshold issue: Does Coleman provide the

only exception to Raines’ general prohibition of legislator standing to assert institutional injuries?

If the answer is “yes,” as Defendant claims, then the court’s standing analysis is relatively simple,

as Plaintiffs clearly do not fit the narrow Coleman exception. If the answer is “no,” however, that




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invites two questions: What other types of institutional injuries are sufficiently concrete and

particularized to pass muster under Raines, and does Plaintiffs’ claimed injury here fit that bill?

       As the discussion suggests, the answer to these questions is not clear. Far from it. See

generally Matthew I. Hall, Making Sense of Legislative Standing, 90 S. Cal. L. Rev. 1 (2016). On

the one hand, Circuit precedent appears to lend some support to Defendant’s argument that

complete vote nullification is the one and only exception to the general rule in Raines that

individual legislators lack standing to assert institutional injuries. See Def.’s Mem. at 15, 17–18;

see also Anthony Clark Arend & Catherine B. Lotrionte, Congress Goes to Court: The Past,

Present, and Future of Legislator Standing, 25 Harv. J.L. & Pub. Pol’y 209, 273 (2001) (“[T]he

D.C. Circuit has seemed to acknowledge that a nullification of a vote is the only basis for legislator

standing.”). For example, in its most recent case on the subject, the D.C. Circuit characterized

Coleman as “a soft spot in the legal barrier against congressional legal challenges to executive

action” and “the very narrow possible . . . exception to Raines.” Campbell, 203 F.3d at 21, 23.

       At the same time, however, all of the relevant cases in this jurisdiction that have referenced

and distinguished Coleman as a narrow and unmet exception—including Campbell—have

involved, like Raines, an alleged dilution of voting power. See Campbell, 203 F.3d at 19–20, 22

(noting, in suit challenging an executive order that directed the U.S. armed forces’ participation in

NATO airstrikes in Yugoslavia without congressional authorization, that the plaintiff congressmen

“sought to fit within the Coleman exception to the Raines rule” by “specifically defeating the War

Powers Resolution authorization by a tie vote and by defeating a declaration of war”); cf.

Chenoweth, 181 F.3d at 113, 116–17 (explaining that the plaintiffs’ claim of standing was

predicated on theory that by introducing a particular initiative via executive order rather than

statute, the President denied them “their constitutionally guaranteed responsibility of open debate



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and vote on issues and legislation,” thereby “diminish[ing] their power as Members of Congress,”

and holding that such theory did not satisfy Coleman’s vote nullification standard); Common

Cause, 909 F. Supp. 2d at 14, 23, 24–27 (holding that House Representative plaintiffs failed to

satisfy “Coleman exception” in suit challenging the Senate’s Cloture Rule on grounds that it

prevented a simple majority in the Senate from closing debate on and passing certain legislation,

thereby nullifying the votes personally cast by plaintiffs in favor of such legislation).

         The alleged injury in this case, by contrast, is “the deprivation of information to which

[Plaintiffs] are entitled by law and that they need in order to perform their congressionally-

delegated oversight function” as members of the House Oversight Committee. Pls.’ Mem. at 22;

see Compl. ¶ 36.        Thus, at least on the facts presented here, whether Coleman’s complete

nullification standard represents the only exception to Raines’ general prohibition on suits alleging

institutional injury—or whether Raines permits a legislator to assert other institutional injuries that

are sufficiently concrete and particularized—is arguably an open question. See Walker, 230 F.

Supp. 2d at 66–68 (reasoning that any possible institutional injury to Congress’ legislative and

oversight functions caused by Executive’s failure to produce records was too “vague and

amorphous” to confer standing under Raines, without any mention of Coleman). 5

         This court is not of the view that complete vote nullification is the only instance in which

an individual legislator can assert institutional injury consistent with Raines. As discussed above,

because the plaintiffs in Raines claimed that they had an adequate interest in maintaining the

“effectiveness of their votes” like the plaintiffs in Coleman, Raines arguably left open the question




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  See generally Hall, supra, at 4, 23 (arguing that “confusion and inconsistency in legislative standing doctrine” is
attributable to the doctrine’s use in “a multitude of distinct and unrelated types of claims that have little in common
other than the presence of a legislative litigant,” and further noting that the Supreme Court “has never mustered a
majority definitively to explain the continuing relevance of Coleman or the principles that guide the determination of
which institutional injuries can be litigated, and by whom”).

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whether individual Members of Congress have standing to assert other types of institutional

injuries outside the vote dilution context. The Court seemed to suggest as much when, in closing,

it observed that “the institutional injury [the plaintiffs] allege is wholly abstract and widely

dispersed (contra, Coleman).” Raines, 521 U.S. at 829. Might a claimed institutional injury that

is neither “wholly abstract” nor “widely dispersed” suffice to confer standing on an individual

Member of Congress?

       Arguably, this is such a case. Section 2954 is unique in that it grants a statutory right to

seven members of the House Oversight Committee—a true minority (seven Members) of a

minority of the House of Representatives (those Members on the Oversight Committee)—to

request and receive information from an Executive agency, provided that information falls within

the Committee’s jurisdiction. The denial of a Seven Member Rule request, although not a personal

injury, is a more particularized type of institutional injury than a general diminution of legislative

power, such as the dilution of the efficacy of Congress members’ votes (e.g., Raines) or the

deprivation of their right to participate and vote in manner prescribed by the Constitution (e.g.,

Chenoweth). Those types of injuries, by definition, affect all Members equally. Here, by contrast,

not every Member even possesses the right to make a Seven Member Rule request—only a small

percentage do and, even then, it must be a collective demand. So, the injury brought upon by a

denial of a Seven Member Rule request cannot genuinely be said to apply equally to all Members.

It falls specifically on the Members that made the demand and therefore is not “widely dispersed.”

       Additionally, the rejection of a Seven Member Rule request is more concrete than, say,

again, a claim of vote dilution. Courts have not, for instance, doubted in the congressional

subpoena enforcement context that the Executive Branch’s refusal to produce records is a

sufficiently concrete injury. See, e.g., Miers, 558 F. Supp. 2d at 71; see also Holder, 979 F. Supp.



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2d at 20–22. At least in terms of concreteness, it is hard to conceive of a material difference

between this case—a suit to enforce a congressional records demand—and a subpoena

enforcement case—a suit to enforce a congressional records demand. Thus, to the extent that

Raines demands that an individual Member of Congress have an injury that is both concrete and

particularized to vindicate an institutional injury, this case bears those characteristics in a way that

other cases post-Raines have not. 6 Accordingly, the court finds that Plaintiffs have made a stronger

case than the plaintiffs in Raines that they have suffered the type of institutional injury that could

potentially establish Article III standing.

         But that is not the end of the analysis. The Court in Raines instructed that, when evaluating

the standing of a Member of Congress, courts also must consider “historical experience,” 521 U.S.

at 829, as well as several other factors, including whether the Member has been “authorized to

represent” the house of Congress in which she serves and the availability of an “adequate remedy,”

see id. Accord Walker, 230 F. Supp. 2d at 64–65, 68–74. Here, these additional considerations

all weigh heavily against recognizing standing in this case. As discussed in further detail below,

the absence of any historical precedent for enforcing Seven Member Rule demands in federal

court, the lack of authorization from the House of Representatives to bring suit, and the availability

of political avenues of redress, all compel the conclusion that Plaintiffs—although perhaps




6
  The court recognizes that Walker, a case that also involved an effort to enforce a congressional demand for documents
from the Executive Branch, came to a different conclusion on institutional injury. See 230 F. Supp. 2d at 66–68. But
Walker can be distinguished, at least in part, based on who made the records demand. There, the demand for
information from the Executive Branch was made by “an agent of the Legislative Branch,” the Comptroller General,
who is the head of the General Accounting Office. Id. at 53. This “subservient” relationship to Congress is the
difference between Walker and this case. See id. at 66 (citing Bowsher v. Synar, 478 U.S. 714, 730 (1986)). By virtue
of Congress’ principal-agent relationship with the Comptroller General, the injury in Walker was shared equally by
all Members of Congress, as it was the institution’s agent who was thwarted in his records demand. Here, by contrast,
there is no agency relationship between Plaintiffs, individually or collectively, and the House of Representatives or
the House Oversight Committee. Their injury is particular to them, not the institution through its agent as in Walker.

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suffering a more particularized and concrete institutional injury than the plaintiffs in Raines—lack

standing to bring this action.

                       a.        Historical Practice

       In Raines, the Supreme Court looked to “historical practice to determine whether the claims

[the] plaintiffs asserted in that case were the sort that had traditionally been adjudicated by Article

III courts.” Waxman II, 2006 WL 8432224, at *13 (citing Raines, 521 U.S. at 826–29); see also

Walker, 230 F. Supp. 2d at 70–74 (conducting similar analysis). Like the plaintiffs in Raines, what

Plaintiffs here ask of the court is “contrary to historical experience.” See Raines, 521 U.S. at 829.

First, as a general matter, inter-branch disputes have typically been resolved through the political

process. See Chenoweth, 181 F.3d at 113–14 (“Historically, political disputes between Members

of the Legislative and Executive Branches were resolved without resort to the courts.”); cf. Raines,

521 U.S. at 826 (“It is evident from several episodes in our history that in analogous confrontations

between one or both Houses of Congress and the Executive Branch, no suit was brought on the

basis of claimed injury to official authority or power.”). Plaintiffs’ suit therefore runs against the

strong current of history.

       Second, when courts have entered the fray to resolve informational disputes between the

political branches, they have done so exclusively in the context of subpoena enforcement actions.

See Waxman II, 2006 WL 8432224, at *16 (noting that such cases merely suggest that “as a matter

of historical practice, federal courts have adjudicated informational disputes between the executive

and legislative branches only when one of the Houses of Congress has sought their intervention,”

not that courts “should act when individual Members file suit”); see, e.g., Holder, 979 F. Supp. 2d




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1; Miers, 558 F. Supp. 2d 53. As discussed in more detail in the next section, the majority consent

required to bring such actions makes those cases materially different than this one.

       Third, there is almost no historical precedent for Members of Congress to even attempt to

enforce unmet Seven Member Rule demands through the federal courts. The parties have

identified only two other cases in the 90-year history of section 2954 like this one. See Waxman

v. Evans (“Waxman I”), No. 01-4530, 2002 WL 32377615 (C.D. Cal. Jan. 18, 2002), rev’d and

vacated, 52 F. App’x 84 (9th Cir. 2002) (vacating ruling in favor of legislator-plaintiffs); Waxman

II, 2006 WL 8432224, at *6–12 (holding that committee members lacked standing); see also id. at

*13–14 (noting that, prior to Waxman I, only two cases “even mentioned the statute,” and that, “if

anything,” those cases suggested “that [it] has not been the practice” for “the executive and

legislative branches to resort to the courts when they dispute the proper scope of disclosure under

§ 2954,” because in each case, “FOIA, rather than § 2954, was invoked”). This complete dearth

of Seven Member Rule enforcement proceedings over a 90-year period is strong evidence that,

historically, the proper solution has been a political and not a judicial one. See Hr’g Tr. at 54

(noting that in the past, the political branches have worked out document requests “simply by

sitting down and talking,” even in “controversial disputes, like Whitewater or the savings [and]

loan controversy”).

       In sum, “[a]n analysis of historical precedent does not turn the standing assessment in

[Plaintiffs’] favor by demonstrating a judicially cognizable injury.” Walker, 230 F. Supp. 2d at

70.

                       b.      Lack of Authorization

       Equally significant is Plaintiffs’ lack of authorization to bring this action. At the end of its

opinion in Raines, the Court noted that it “attach[ed] some importance to the fact that [the



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plaintiffs] ha[d] not been authorized to represent their respective Houses of Congress in this action,

and indeed both Houses actively oppose[d] their suit.” 521 U.S. at 829. Since Raines, courts have

treated authorization by the whole to bring suit as a significant factor in the standing analysis.

       Take Committee on the Judiciary v. Miers, for example. In that case, the House Committee

on the Judiciary sued to compel senior presidential aides to testify and produce a privilege log in

response to a congressional subpoena after the House passed a resolution authorizing the

committee to seek civil enforcement of its subpoena authority. See Miers, 558 F. Supp. 2d at 55–

64. There, the court held that the House Judiciary Committee had standing “to enforce its duly

issued subpoena through a civil suit.” Id. at 68. Importantly, the court found that Raines did not

undermine the D.C. Circuit’s decision in United States v. AT&T, 551 F.2d 384 (D.C. Cir. 1976), a

case in which the chairman of a subcommittee was authorized to intervene on behalf of the House

to defend the institution’s interest in compliance with a duly issued congressional subpoena.

Miers, 558 F. Supp. 2d at 68–70; see also AT&T, 551 F.2d at 391 (“It is clear that the House as a

whole has standing to assert its investigatory power, and can designate a member to act on its

behalf.”). The Miers court reasoned that unlike in Raines, where “individual Members sought to

ameliorate Congress’s institutional injury without the consent of the institution itself,” the

chairman in AT&T “represented the institution and sought to remedy a potential institutional

injury.” Miers, 558 F. Supp. 2d at 70. The court also distinguished its prior decision in Walker,

explaining that “all of the missing factors identified in Walker [were] present” in Miers, including

a congressional subpoena and authorization from the full House for the suit. Id. Indeed, “the fact

that the House ha[d] issued a subpoena and explicitly authorized th[e] suit” was “the key factor

that move[d] th[e] case from the impermissible category of an individual plaintiff asserting an

institutional injury (Raines, Walker) to the permissible category of an institutional plaintiff



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asserting an institutional injury ([AT&T], . . .).” Id. at 71 (emphasis added). Other decisions

likewise emphasize the importance of authorization to bring suit as a key component of standing.

See Holder, 979 F. Supp. 2d at 21 (“[T]he House of Representatives has specifically authorized

the initiation of this action to enforce the subpoena. Twice. Thus, Raines is entirely distinguishable

from the situation at hand . . . .”); cf. Burwell, 130 F. Supp. 3d at 67 (“But the plaintiff here is the

House of Representatives, duly authorized to sue as an institution, not individual members as in

Raines.”).

        None of this is meant to suggest that authorization to sue, by itself, is enough to confer

standing. See Raines, 521 U.S. at 829 (expressly declining to decide whether the plaintiffs would

have had standing if they had received authorization); United States v. Windsor, 570 U.S. 744,

790–91 (2013) (Scalia, J., dissenting) (rejecting as a basis for standing the notion that “a bare

majority of both Houses could bring into court the assertion that the Executive’s implementation

of welfare programs is too generous—a failure that no other litigant would have standing to

complain about”). But there are good reasons for courts to look to the presence of authorization

as a necessary, even if not sufficient, factor in evaluating standing in cases that pit the Executive

and Legislative Branches against one another.

        First, an affirmative vote to sue ensures that “the Judiciary’s power [is kept] within its

proper constitutional sphere.” Raines, 521 U.S. at 820. Indeed, the Supreme Court has emphasized

that the standing inquiry must be “especially rigorous when reaching the merits of a dispute would

force [a court] to decide whether an action taken by one of the other two branches of the Federal

Government” is unlawful. Id. at 819–20. Insisting on approval from the institution as a whole

ensures that only fully considered inter-branch conflicts enter the judicial realm. See id. at 820

n.3, 829 (stating that, as a general matter, a legislative enactment granting a particular plaintiff the



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right to sue “significantly lessens the risk of unwanted conflict with the Legislative Branch when

that plaintiff brings suit,” but ultimately attaching “some importance” to absence of congressional

authorization where plaintiffs were individual Members of Congress). Additionally, requiring

authorization protects Congress’ institutional concerns from the caprice of a restless minority of

Members. 7 As the D.C. Circuit explained in AT&T, a resolution by the entire legislative body

prevents a “wayward committee [from] acting contrary to the will of the House” and safeguards

against “aberrant subcommittee or committee demands.” See 551 F.2d at 393 & n.16 (citing

Wilson v. United States, 369 F.2d 198 (1966)). And, as the Supreme Court has observed since

Raines, where individual Members of Congress “fail[] to prevail in their own Houses” by receiving

authorization to file suit, “the suitors [cannot] repair to the Judiciary to complain.” Arizona, 135

S. Ct. at 2664.

           In this case, Plaintiffs did not secure approval from the full House before bringing suit—

indeed, they did not even try to. See Hr’g Tr. at 33–34. That fact not only carries “some

importance” and therefore counsels against recognizing standing, see Raines, 521 U.S. at 829, but

it also distinguishes this case from Miers, Holder, and Burwell—the only cases that have

recognized legislative standing to vindicate an institutional injury that does not satisfy the narrow

Coleman standard. In other words, while there is some authority in this Circuit that supports the

proposition that “a House of Congress or committee of Congress would have standing to sue to

retrieve information to which it is entitled,” Walker, 230 F. Supp. 2d at 68 (emphasis added) (citing

cases); see supra (discussing Miers and Holder)—there is no authority that recognizes an

individual Member of Congress’ right to do the same.




7
    The court does not suggest that the Plaintiffs here are so motivated.

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        Recognizing this weakness, Plaintiffs insist that they have been “duly authorized” to bring

this suit by virtue of Congress’ enactment of section 2954 itself. Pls.’ Mem. at 25 n.10. The mere

adoption of section 2954 cannot, however, carry the weight that Plaintiffs accord it. It is a dubious

proposition that, when Congress adopted the Seven Member Rule 90 years ago, it meant the statute

to be an unqualified grant of permission for as few as seven members of the House Oversight

Committee to bring suit against the Executive Branch any time those members were dissatisfied

with a document production. See Walker, 230 F. Supp. 2d at 69–70 (stating that the “highly

generalized allocation of enforcement power” given to the Comptroller General “twenty-two years

ago hardly gives this Court confidence that the current Congress has authorized this Comptroller

General to pursue a judicial resolution of the specific issues affecting the balance of power between

the Article I and Article II Branches”). Nothing about the text or history of section 2954 supports

such an interpretation. 8 Indeed, Plaintiffs’ view, if accepted, would have profound consequences

for the balance of powers between the political branches, as it would mean that a small group of

congressmen could initiate an inter-branch conflict, even if the institution, speaking through a

majority vote, opposes the confrontation. So, the court reads the Seven Member Rule only to allow

what it plainly says: A minority group of Members of the House Oversight Committee may make

a demand for information from an Executive agency. The Rule says nothing, however, about such

a group’s capacity to file suit to enforce the demand, let alone whether they could do so without




8
  The court also notes that treating section 2954 as a blanket authorization for minority members of the Oversight
Committee to sue would seem to conflict with current House Rules regarding the enforcement of a subpoena issued
by the Committee itself.         See Rule XI, cl. 2(m)(1)–(3), Rules of the House of Representatives,
https://rules.house.gov/sites/republicans.rules house.gov/files/115/PDF/House-Rules-115.pdf [hereinafter House
Rules]. Under those rules, “[c]ompliance with a subpoena issued by a committee . . . may be enforced only as
authorized or directed by the House.” House Rule XI, cl. 2(m)(3)(C) (emphasis added).



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the majority assent of their colleagues. 9 The absence of approval from the House to commence

this suit to remedy an institutional injury therefore is fatal to Plaintiffs’ assertion of standing.

                           c.       Alternative Remedies

         Finally, the Court in Raines buttressed its standing decision by noting that the plaintiffs

there were not left without avenues of redress. They could, the Court observed, endeavor to “repeal

the [Line Item Veto Act] or exempt appropriations bills from its reach.” Raines, 521 U.S. at 829.

The Circuit likewise has recognized that the availability of political solutions strongly militates

against finding legislative standing to resolve a dispute between the political branches.

Cf. Campbell, 203 F.3d at 24 (emphasizing Raines’ general focus on “the political self-help

available to congressmen” and noting that Raines explicitly rejected argument that “legislators

should not be required to turn to politics instead of the courts for their remedy”).

         Plaintiffs here have political tools available to them, too. For instance, Plaintiffs could

attempt to convince a majority of their colleagues on the House Oversight Committee to join in

their demand under section 2954 or, alternatively, to issue a subpoena for the documents, see Rule

XI,       cl.       2(m)(1)–(3),          Rules         of       the       House          of       Representatives,

https://rules.house.gov/sites/republicans.rules.house.gov/files/115/PDF/House-Rules-115.pdf

[hereinafter House Rules].          Presumably, with majority support from the Oversight Committee,

GSA’s refusal to produce documents would be met with greater political force. And, even if their

Oversight Committee colleagues rejected their efforts, Plaintiffs could urge the House Bipartisan


9
   Notably, Plaintiffs’ assertion that they are “duly authorized” by statute—rather than by House Resolution as in
Miers, Holder, and Burwell—conflicts with the Supreme Court’s decision in Raines. There, the Court observed that
the plaintiffs had not been “authorized to represent their respective Houses of Congress,” Raines, 521 U.S. at 829,
even though the Line Item Veto Act contained a general provision granting Congress members the right to challenge
the Act’s constitutionality. Thus, even if section 2954 contained a similar provision—which it does not, see 5 U.S.C.
§ 2954; Pls.’ Mem. at 3 (conceding that section 2954 itself does not provide a private right of action)—such a provision
would not serve as evidence that the current House of Representatives “authorized” Plaintiffs to file suit.



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Legal Advisory Group to support litigation to enforce the Seven Member Rule requests.10

According to Plaintiffs, they did not try this route. See Hr’g Tr. at 33–36. And of course there are

other political levers at the House’s disposal if Plaintiffs were able to convince a majority of their

colleagues of the institutional importance of respecting a Seven Member Rule request. See

generally Fisher, supra (listing various means by which Congress can obtain information from the

Executive).

         Admittedly, had these paths been readily available, Plaintiffs would not have filed this

action. But the fact that a political remedy is hard to achieve does not automatically swing open

the doors to the federal courts. See Campbell, 203 F.3d at 23–24 (broadly construing available

options for political redress to even include “the possibility of impeachment should a President act

in disregard of Congress’ authority”).

V.       CONCLUSION

         For the foregoing reasons, Plaintiffs lack standing under Article III to seek judicial

enforcement of their requests for information from GSA under 5 U.S.C. § 2954. Accordingly, the

court grants Defendant’s Motion to Dismiss under Federal Rule of Civil Procedure 12(b)(1) and

denies Plaintiffs’ Cross-Motion for Summary Judgment.

         A separate order accompanies this Memorandum Opinion.




Dated: August 14, 2018                                          Amit P. Mehta
                                                                United States District Judge




10
   The Bipartisan Legal Advisory Group consists of the Speaker of the House and the majority and minority
leaderships. House Rule II, cl. 8(b). According to House Rules, “[u]less otherwise provided by the House, the
Bipartisan Legal Advisory Group speaks for, and articulates the institutional positions of, the House in all litigation
matters.” Id.

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